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                                     EXHIBIT B

                              (The TCC Remedial Letter)




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                                      James I. Stang                November 12, 2021                    310.772.2354
                                                                                                   jstang@pszjlaw.com




L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E
N E W Y O R K, N Y                    To Whom It May Concern:
H O U S T O N, T X

10100 SANTA MONICA BLVD.                     As many of you know, my Firm sent an email and letter from
13th FLOOR                            Mr. Kosnoff to (1) all individuals on the TCC’s email contact list
LOS ANGELES
CALIFORNIA 90067-4003
                                      (the “TCC Email List”) and (2) individuals identified as clients of
TELEPHONE: 310.277.6910
                                      Mr. Kosnoff by Mr. Kosnoff (the “Kosnoff List”) that you received
FACSIMILE: 310.201.0760               between Friday, November 5, 2021 and Sunday, November 7, 2021.

SAN FRANCISCO                                    OUR DISTRIBUTION OF MR. KOSNOFF’S EMAIL
1 MARKET PLAZA, SPEAR TOWER                      AND LETTER TO THE TCC EMAIL LIST WAS A
40th FLOOR, SUITE 4000
                                                 MISTAKE. THE DISTRIBUTION WAS INTENDED
SAN FRANCISCO
CALIFORNIA 94105-1020
                                                 FOR THE CLIENTS ON THE KOSNOFF LIST. WE
TELEPHONE: 415.263.7000
                                                 WOULD URGE EACH OF YOU TO DELETE THE
FACSIMILE: 415.263.7010                          EMAIL AND LETTER.

DELAWARE                                         WHILE MR. KOSNOFF’S EMAIL AND LETTER WAS
919 NORTH MARKET STREET                          INTENDED FOR HIS CLIENTS, THE OFFICIAL
17th FLOOR
                                                 COMMITTEE OF TORT CLAIMANTS’ (THE “TCC”)
P.O. BOX 8705
WILMINGTON
                                                 DISTRIBUTION OF THE EMAIL AND LETTER
DELAWARE 19899-8705                              FROM THE BSASURVIVORS@PSZJLAW.COM
TELEPHONE: 302.652.4100                          EMAIL ADDRESS WAS NOT AN ENDORSEMENT
FACSIMILE: 302.652.4400                          BY THE TCC OF THE CONTENTS OF THOSE
                                                 DOCUMENTS.
NEW YORK
780 THIRD AVENUE
                                              If you forwarded the email and letter to anyone, we urge you
34th FLOOR
NEW YORK
                                      to contact the person to whom you forwarded it and send them this
NEW YORK 10017-2024                   letter.
TELEPHONE: 212.561.7700
FACSIMILE: 212.561.7777                       The TCC’s distribution of the Mr. Kosnoff’s email or letter
                                      was not an endorsement by the TCC of the contents of those
TEXAS                                 documents. My firm and the TCC sincerely apologize for any
440 LOUISIANA STREET
                                      confusion caused by our distribution of Mr. Kosnoff’s email and
SUITE 900
HOUSTON
                                      letter. The Court will be holding a hearing on a date to be
TEXAS 77002-1062                      determined on whether Mr. Kosnoff’s email and letter contain false,
TELEPHONE: 713.691.9385
                                      misleading, and inaccurate statements that are inconsistent with the
FACSIMILE: 713.691.9407               Court-approved Disclosure Statement and whether the TCC’s

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            counsel should have used its email account to send Mr. Kosnoff’s
            letter.

                     In addition, Mr. Kosnoff’s email and letter do not reflect the
            views held by the TCC regarding any individual or firm named in
            the letter, including Eisenberg, Rothweiler, Winkler, Eisenberg &
            Jeck P.C. (“Eisenberg”). We acknowledge that the email and letter
            contain inflammatory language directed against another lawyer and
            his law firm. The TCC does not agree with, and affirmatively
            rejects, all statements made by Mr. Kosnoff in his email and letter
            about the Eisenberg firm and Mr. Rothweiler. The Eisenberg firm
            represents over fifteen thousand survivors of Abused in Scouting
            and deserves to be treated with respect.

                     Many of you have counsel who represent your interests,
            including as to how you should vote on the Boy Scouts’ plan. In
            fact, attorneys representing an overwhelming majority of the
            survivors in these cases support the plan and are urging their clients
            to vote “YES” on the plan. We are not trying to interfere with the
            advice that you may be receiving from your own attorney, if
            represented. If you have questions on how to vote on the plan,
            we strongly encourage you to seek advice from your attorney.

                    If you would like to change your vote on the Boy Scouts’
            plan, you should contact your attorney (if you have one) in order
            to submit a new ballot so that it is received by the Solicitation
            Agent on or prior to the Voting Deadline of December 14, 2021 at
            4:00 p.m. (Eastern Time). You may also email
            BSAballots@omniagnt.com to request a new ballot. Again, I utterly
            and truly apologize for sending Mr. Kosnoff’s email and letter to
            you.

                                             Sincerely,



                                             James
                                             James I. Stangg




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